          Case 2:96-cr-00350-WBS-AC Document 838 Filed 07/19/13 Page 1 of 1


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7
8                         IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )          No. 2:96-CR-0350-WBS
                                     )
12                  Plaintiff,       )          PROPOSED ORDER RE DEFENDANT
                                     )          HUY CHI LUONG’S MOTION TO
13                                   )          CONTINUE RE-SENTENCING
          v.                         )
14                                   )
     HUY CHI LUONG, et. al.,         )
15                                   )
                    Defendants.      )
16   _______________________________ )
17         For the reasons set forth in defendant Huy Chi Luong’s motion to continue filed
18   July 18, 2013, the Court hereby grants the motion to continue the re-sentencing hearing in
19   this case from July 29, 2013 to August 26 , 2013, at 9:30 a.m.
20         Dated: July 19, 2013
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